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 8

 9 Attorneys for United States of America

10                                   UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12                                            OAKLAND DIVISION

13   UNITED STATES OF AMERICA,                        ) NO. 22-CR-00031-YGR
                                                      )
14           Plaintiff,                               ) STIPULATION AND ORDER CONTINUING
                                                      ) STATUS CONFERENCE
15      v.                                            )
                                                      )
16   ROSS KLINGER,                                    )
                                                      )
17           Defendant.                               )
                                                      )
18

19           A status conference in the above-captioned case is scheduled for January 11, 2023. Counsel for
20 the United States and counsel for the defendant jointly stipulate and request that that status conference

21 be continued to June 28, 2023. The parties incorporate by reference previous filings in this case as a

22 basis for this continuance. The parties take the position that this matter should be resolved after other

23 related matters.

24           The undersigned Assistant United States Attorney certifies that she has obtained approval from
25 counsel for the defendant to file this stipulation, request, and proposed order.

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     STIPULATION TO CONTINUE STATUS CONFERENCE
     AND ORDER
     22-CR-00031-YGR                        1
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 1

 2

 3         IT IS SO STIPULATED.

 4

 5 DATED: January 9, 2023                                   /s/ Molly K. Priedeman
                                                           MOLLY K. PRIEDEMAN
 6                                                         Assistant United States Attorney
 7

 8 DATED: January 9, 2023                                    /s/ JOHN PAUL REICHMUTH
                                                           JOHN PAUL REICHMUTH
 9                                                         Attorney for the Defendant
10

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14                                              ORDER
15         With the consent of the parties, IT IS HEREBY ORDERED that the status conference be
16 continued to June 28, 2023.

17

18         IT IS SO ORDERED.
19

20 DATED: January 9, 2023                    _____________________________________
21                                           THE HONORABLE YVONNE GONZALEZ ROGERS
                                             United States District Judge
22

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28
     STIPULATION TO CONTINUE STATUS CONFERENCE
     AND ORDER
     22-CR-00031-YGR                        2
